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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS


     YU LUO,

                Plaintiff,

                                                 C.A.: TO BE DETERMINED


     UNINCORPORATED ASSOCIATIONS


                Defendants.




                 COMPLAINT FOR PATENT INFRINGEMENT


        Plaintiff Yu Luo (“Plaintiff’) hereby brings the present action against

The Partnerships and Unincorporated Associations identified in Schedule A,

filed under Seal (collectively, “Defendants”) and alleges as follows:

                              JURISDICTION AND VENUE

1.      This Court has original subject matter jurisdiction over the claims in this

action pursuant to the provisions of the United States Patent Act, 35 U.S.C. § 1, et

seq., 28 U.S.C. § 1338(a)-(b) and 28 U.S.C. § 1331.

2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court

may properly exercise personal jurisdiction over Defendants since each of the

Defendants directly targets business activities toward consumers in the United

States, including Illinois, through at least the fully interactive, commercial Internet

stores operating under the Online Marketplace Accounts
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identified in Schedule A attached hereto (collectively, the “Defendant Internet

Stores”). Specifically, Defendants are reaching out to do business with Illinois

residents by operating one or more commercial, interactive Defendant Internet

Stores through which Illinois residents can purchase products featuring Plaintiff’s

patented design. Each of the Defendants has targeted sales from Illinois residents by

operating online stores that offer shipping to the United States, including Illinois, accept

payment in U.S. dollars and, on information and belief, has sold products featuring

Plaintiff’s patented design to residents of Illinois. Each of the Defendants is

committing tortious acts in Illinois, is engaging in interstate commerce, and has

wrongfully caused Plaintiff substantial injury in the State of Illinois and the United

States.

                                  INTRODUCTION

3.     This action has been filed by Plaintiff to combat online infringers who

unfairly infringe Plaintiff’s invention and potential designs by marketing, selling,

and/or distributing unlicensed product that infringe upon Plaintiff’s U.S. Patent

D1,012,683 entitled ‘SHELF BRACKET’, filed January 11, 2023 (‘683 Patent)

(Exhibit A). The Defendants individually and collectively create Defendant Internet

Stores by the dozens and design them to be appearing to sell licensed products, while

actually and knowingly marketing, selling, and/or distributing infringing product.

The Defendant Internet Stores share unique identifiers, such as using the same

product image, same advertising, design elements and similarities of the infringing
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products offered for sale, establishing a logical relationship between them and

suggesting that Defendants’ operation arises out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid

liability by going to extreme lengths to conceal both their identities and the full

scope and interworking of their operation. Plaintiff is forced to file this action to

combat Defendants’ infringement of its patented design. Plaintiff has been and

continue to be irreparably damaged and harmed from the loss of its patent rights to

exclude others from making, using, selling, offering for sale, and importing its

patented design as a result of Defendants’ actions and seek temporary, preliminary,

and permanent injunctive and monetary relief.

                                    THE PARTIES

4.     Plaintiff Yu Luo, is an individual based in Ya An, CHINA. Plaintiff is the owner

of U.S. Patent D1,012,683 (Exhibit A) entitled “SHELF BRACKET” (’683 Patent).

5.     Plaintiff grants licenses to third parties and also sell products, both online and

offline through their retail stores, which feature hooks designed in alignment with

the ‘683 Patent. Plaintiff has established his product as the first to market and has an

established reputation and quality reviews. Plaintiff’s inventive design is shown at

Image 1 below.




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                               IMAGE 1




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6.    Plaintiff is the lawful owner of all rights, title, and interest in the ‘683 Patent.

The ‘683 Patent was duly issued on January 30, 2024. Attached hereto as Exhibit A

is a true and correct copy of the ‘683 Patent.

7.    Plaintiff has not granted a license or any other form of permission to

Defendants with respect to the patent design or the ‘683 Patent.

8.    Defendants are individuals and business entities who, upon information and

belief, reside in the People's Republic of China or other foreign and domestic

jurisdictions. Defendants conduct business throughout the United States, including

within the State of Illinois and this Judicial District, through the operation of the

fully interactive, commercial online marketplaces operating under the Defendants’

Internet Stores. Each Defendant targets the United States, including Illinois, and has

offered to sell, and, on information and belief, has sold and continues to sell

Infringing Products to consumers within the United States, including the State of

Illinois. Defendants and their respective infringing products are shown in Exhibit B

(SEALED).

9.    On information and belief, Defendants are an interrelated group of infringers

working in active concert to knowingly and willfully make, use, offer for sale, sell,

and/or import into the United States for subsequent sale or use products that infringe

directly and/or indirectly the ‘683 Patent in the same transaction, occurrence, or

series of transactions or occurrences. Tactics used by Defendants to conceal their

identities and the full scope of their operation make it virtually impossible for

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Plaintiff to learn Defendants’ true identities and the exact interworking of their

network. In the event that Defendants provide additional credible information

regarding their identities, Plaintiff will take appropriate steps to amend the

Complaint.

10.    Plaintiff has not licensed or authorized Defendants to use the invention claimed

in the ‘683 Patent, and none of the Defendants are authorized retailers of Plaintiffs

Products.

11.    Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant

Internet Stores. On information and belief, Defendants regularly create new online

marketplace accounts on various platforms using the identities listed in Schedule A

to the Complaint, as well as other unknown fictitious names and addresses. Such

Defendant Internet Store registration patterns are one of many common tactics used by

the Defendants to conceal their identities, the full scope and interworking of their

operation, and to avoid being shut down.

12.    Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores. The Defendant Internet

Stores include notable common features, including the same product images,

accepted payment methods, checkout methods, meta data, illegitimate SEO tactics,

lack of contact information, identically or similarly priced items and volume sales

discounts, the same incorrect grammar and misspellings, similar hosting services,

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and the use of the same text and images, including content copied from Plaintiffs

original product listings.

13.    In addition to operating under multiple fictitious names, Defendants in this

case and defendants in other similar cases against online infringers use a variety of

other common tactics to evade enforcement efforts. For example, infringers like

Defendants will often register new online marketplace accounts under new aliases

once they receive notice of a lawsuit. Infringers also typically ship products in

small quantities via international mail to minimize detection by U.S. Customs and

Border Protection.     Further, infringers such as Defendants typically operate

multiple credit card merchant accounts and PayPal accounts behind layers of

payment gateways so that they can continue operation in spite of Plaintiffs

enforcement efforts, such as take down notices. On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their

PayPal accounts or other financial accounts to off-shore bank accounts outside the

jurisdiction of this Court. Indeed, analysis of PayPal transaction logs from previous

similar cases indicates that offshore infringers regularly move funds from U.S.-based

PayPal accounts to China-based bank accounts outside the jurisdiction of this Court.

14.    According to the Amazon store owner's information showed on Amazon

websites, parts of the Defendants can be identified via Chinese official company

registration system. They are registered companies and actual owners of those

companies located in China. Most of those Defendants companies only have 1 or 2

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employees, and the employees are also the actual owners of the Defendant

companies.

15.    Defendants, without any authorization or license from Plaintiff, have

knowingly and willfully offered for sale, sold, and/or imported into the United States

for subsequent resale or use products that infringe directly and/or indirectly the ‘683

Patent, and continue to do so via the Defendant Internet Stores. Each Defendant

Internet Store offers shipping to the United States, including Illinois, and, on

information and belief, each Defendant has sold Infringing Products into the United

States, including Illinois.

16.    Defendants’ infringement of the ‘683 Patent in the offering to sell, selling, or

importing of the Infringing Products was willful.

17.    Defendants’ infringement of the ‘683 Patent in connection with the offering to

sell, selling, or importing of the Infringing Products, including the offering for sale

and sale of Infringing Products into Illinois, is irreparably harming Plaintiff.



                                  COUNT I
                     INFRINGEMENT OF UNITED STATES
                        DESIGN PATENT NO. D1,012,683
                               (35 U.S.C. §271)

18.    Plaintiff hereby re-alleges and incorporates by reference the allegations set

forth in the preceding paragraphs.

19.    Defendants offer for sale, sell, and/or import into the United States for

subsequent resale or use Infringing Products that infringe directly and/or indirectly the
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 ornamental design claimed in the ’683 Patent.

 20.    Defendants have infringed the ’683 Patent through the aforesaid acts and will

 continue to do so unless enjoined by this Court. Defendants' wrongful conduct has

 caused Plaintiff to suffer irreparable harm resulting from the loss of its lawful patent

 rights to exclude others from making, using, selling, offering for sale, and importing

 the patented inventions. Plaintiff is entitled to injunctive relief pursuant to 35

 U.S.C. § 283.

 21.    Unless a preliminary and permanent injunction is issued enjoining

 Defendants and all others acting on in active concert therewith from infringing the

 ‘683 Patent, Plaintiff will be greatly and irreparably harmed.

22.     Plaintiff is entitled to recover damages adequate to compensate for the

infringement, including Defendants' profits pursuant to 35 U.S.C. § 289. Plaintiff is

entitled to recover any other damages as appropriate pursuant to 35 U.S.C. § 284.

                                PRAYER FOR RELIEF


 WHEREFORE, Plaintiff prays for a judgment against Defendants as follows:

 1)     That Defendants, their affiliates, officers, agents, servants, employees,

 attorneys, confederates, and all persons acting for, with, by, through, under or in active

 concert with them be temporarily, preliminarily, and permanently enjoined and

 restrained from:

        a. offering for sale, selling, and importing any products not authorized by

 Plaintiff and that include any reproduction, copy or colorable imitation of the design
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claimed in the Patented Design;

       b. aiding, abetting, contributing to, or otherwise assisting anyone in infringing

upon the Patented Design; and

       c. effecting assignments or transfers, forming new entities or associations or

utilizing any other device for the purpose of circumventing or otherwise avoiding the

prohibitions set forth in Subparagraphs (a) and (b).

2)     Entry of an Order that, upon Plaintiffs request, those in privity with Defendants

and those with notice of the injunction, including, without limitation, any online

marketplace platforms such as iOffer, eBay, AliExpress, Alibaba, etsy.com, Amazon,

Wish.com, Walmart.com, and Dhgate, web hosts, sponsored search engine or ad-

word providers, credit cards, banks, merchant account providers, third party

processors and other payment processing service providers, Internet search engines

such as Google, Bing and Yahoo (collectively, the “Third Party Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently

or in the future, to engage in the sale of goods that infringe the Patented Design;

       b. disable and cease displaying any advertisements used by or associated with

Defendants in connection with the sale of infringing goods using the Patented

Design; and

       c. take all steps necessary to prevent links to the Defendant Internet Stores

identified on Schedule A from displaying in search results, including, but not limited

to, removing links to the Defendant Internet Stores from any search index;

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3)     That Plaintiff be awarded such damages as it shall prove at trial against

Defendants that are adequate to compensate Plaintiff for infringement of the Patented

Design, and all of the profits realized by Defendants, or others acting in concert or

participation with Defendants,from Defendants' unauthorized use and infringement

of the Patented Design;

4)     That Plaintiff be awarded from Defendants, as a result of Defendants' use and

infringement of the Patented Design, three times Plaintiffs therefrom and three

times Defendants' profits therefrom, after an accounting, pursuant to 35 USC §284;

5)     That Plaintiff be awarded its reasonable attorneys' fees and costs;

and 6) Award any and all other relief that this Court deems just and proper.


DATED:
                                                Robert M. DeWitty
                                                DeWitty and Associates
                                                1500 K Street,
                                                2nd Floor
                                                Washington, D.C. 20005




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